Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 1 of 16




            EXHIBIT $
  Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 2 of 16


From:            Cui, Mulan
To:              "lbrannon@cgsh.com"; "wendelynne.newton@bipc.com"; "mackenzie.baird@bipc.com";
                 "carrie.amezcua@bipc.com"; "william.vankirk@bipc.com"; lmalm@cgsh.com; ldanzig; "ecoraor@cgsh.com";
                 "samantha.southall@bipc.com"; "gretchen.jankowski@bipc.com"; "matthew.pilsner@bipc.com";
                 "spascale@cgsh.com"; "rmukhi@cgsh.com"; "afreedman@cgsh.com"; cfitzpatrick@cgsh.com; "jkay@cgsh.com"
Cc:              "reisler@gelaw.com"; "mbuchman@motleyrice.com"; "mclerkin@motleyrice.com"; "jonileere@motleyrice.com";
                 "delman@gelaw.com"; "WReiss@RobinsKaplan.com"; "DRochelson@RobinsKaplan.com";
                 "rjacobs@motleyrice.com"; "jmcgrath@gelaw.com"; "MGeyer@RobinsKaplan.com";
                 "valarie.williams@alston.com"; "parker.miller@alston.com"; "alex.brown@alston.com";
                 "doug.cunningham@alston.com"; "amanda.waide@alston.com"; "laura.komarek@alston.com";
                 "robert.poole@alston.com"; "emily.welch@alston.com"; Badini, Aldo; Torpey, Susannah; Leiden, Diana; Lanski,
                 Kelli; Miller, Evan; Duxstad, Lauren; Fitzgerald, Megan; Hudgens, Johanna; Cui, Mulan; Waters, Brett; DalSanto,
                 Matthew; Koch, Jared; Kahng, Jeenie; Russo, Stephen; Rosario, Rick; Fargas, Socorro
Subject:         RE: In re Keurig - Expert Disclosures
Date:            Friday, July 31, 2020 4:59:53 PM
Attachments:     image001.jpg
                 image004.jpg
                 image005.jpg


Counsel,

For the reasons discussed during our meet-and-confer on July 8, TreeHouse continues to believe
that you have not offered any satisfactory explanation for how any proposed opinions by Judge
Gajarsa are appropriate for expert testimony. At the time, we asked you for any authority supporting
your position that he could provide an admissible expert opinion and you were unable to provide
any. We also asked that you subsequently send any authority if you became aware of any. To date,
we have not received any such authority. Consequently, TreeHouse maintains its objection to the
proffer of any expert testimony by Judge Gajarsa and reserves all rights in that regard.

Nonetheless, under protest, TreeHouse discloses Randall R. Rader as a potential expert witness to
address any opinions to be proffered by Arthur J. Gajarsa, to the extent such opinions are deemed
admissible by the Court. TreeHouse’s disclosure is pursuant to Federal Rule of Civil Procedure 26(a)
(2) and Paragraph 3(b) of the Case Management Scheduling Order (ECF No. 887).

Further, as noted in TreeHouse’s expert disclosures on July 1, TreeHouse reserves its rights to use
any of its previously disclosed experts in rebuttal instead of or in addition to providing a primary
report.

Best,
Mulan

Mulan Cui
Associate Attorney
Winston & Strawn LLP
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From: Cui, Mulan
 Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 3 of 16


Sent: Thursday, July 02, 2020 4:59 PM
To: DalSanto, Matthew <MDalSanto@winston.com>; lmalm@cgsh.com
Cc: 'Freedman, Alan' <afreedman@cgsh.com>; 'Brannon, Leah' <lbrannon@cgsh.com>;
'wendelynne.newton@bipc.com' <wendelynne.newton@bipc.com>; 'mackenzie.baird@bipc.com'
<mackenzie.baird@bipc.com>; 'carrie.amezcua@bipc.com' <carrie.amezcua@bipc.com>;
'william.vankirk@bipc.com' <william.vankirk@bipc.com>; ldanzig <ldanzig@cgsh.com>; 'Coraor,
Everett' <ecoraor@cgsh.com>; 'samantha.southall@bipc.com' <samantha.southall@bipc.com>;
'peter.russ@bipc.com' <peter.russ@bipc.com>; 'matthew.pilsner@bipc.com'
<matthew.pilsner@bipc.com>; 'Pascale, Sonia Helen' <spascale@cgsh.com>; 'Mukhi, Rahul'
<rmukhi@cgsh.com>; cfitzpatrick@cgsh.com; 'Kay, Joseph' <jkay@cgsh.com>; 'Jang, Eun Sun'
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'jonileere@motleyrice.com' <jonileere@motleyrice.com>; 'delman@gelaw.com'
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'DRochelson@RobinsKaplan.com' <DRochelson@robinskaplan.com>; 'rjacobs@motleyrice.com'
<rjacobs@motleyrice.com>; 'jmcgrath@gelaw.com' <jmcgrath@gelaw.com>;
'MGeyer@RobinsKaplan.com' <MGeyer@robinskaplan.com>; 'dan@danjohnsonlawgroup.com'
<dan@danjohnsonlawgroup.com>; 'robert@danjohnsonlawgroup.com'
<robert@danjohnsonlawgroup.com>; 'mario@danjohnsonlawgroup.com'
<mario@danjohnsonlawgroup.com>; 'bill@danjohnsonlawgroup.com'
<bill@danjohnsonlawgroup.com>; 'josie@danjohnsonlawgroup.com'
<josie@danjohnsonlawgroup.com>; 'trish@danjohnsonlawgroup.com'
<trish@danjohnsonlawgroup.com>; 'andrew@danjohnsonlawgroup.com'
<andrew@danjohnsonlawgroup.com>; 'Isquith@whafh.com' <Isquith@whafh.com>;
'Burt@whafh.com' <Burt@whafh.com>; 'bsimon@pswlaw.com' <bsimon@pswlaw.com>;
'asimon@pswlaw.com' <asimon@pswlaw.com>; 'rkaplan@kaplanfox.com'
<rkaplan@kaplanfox.com>; 'hnam@kaplanfox.com' <hnam@kaplanfox.com>;
'Dwarshaw@pswlaw.com' <Dwarshaw@pswlaw.com>; 'mapearson@pswlaw.com'
<mapearson@pswlaw.com>; 'Donovan@whafh.com' <Donovan@whafh.com>;
'Tepper@whafh.com' <Tepper@whafh.com>; 'valarie.williams@alston.com'
<valarie.williams@alston.com>; 'parker.miller@alston.com' <parker.miller@alston.com>;
'alex.brown@alston.com' <alex.brown@alston.com>; 'doug.cunningham@alston.com'
<doug.cunningham@alston.com>; 'amanda.waide@alston.com' <amanda.waide@alston.com>;
'laura.komarek@alston.com' <laura.komarek@alston.com>; 'robert.poole@alston.com'
<robert.poole@alston.com>; 'emily.welch@alston.com' <emily.welch@alston.com>; Badini, Aldo
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<BWaters@winston.com>; Koch, Jared <Jkoch@winston.com>; Kahng, Jeenie
<Jkahng@winston.com>; Russo, Stephen <SRusso@winston.com>; Rosario, Rick
<RRosario@winston.com>; Fargas, Socorro <SFargas@winston.com>
Subject: RE: In re Keurig - Expert Disclosures

Counsel,
  Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 4 of 16



Further to my email below and to the agreement of the parties reached on or about June 30, 2020,
TreeHouse discloses that the subject matter of any testimony by Dr. Kenneth Castleman will concern
one or more of the following topics: the design, functionality, source code, software, embedded
systems, sensors, and hardware of one or more Keurig brewers including, without limitation, the
Keurig 2.0 Brewer, KBT, and CBT.

Best,
Mulan

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From: Cui, Mulan
Sent: Wednesday, July 01, 2020 4:58 PM
To: DalSanto, Matthew <MDalSanto@winston.com>; lmalm@cgsh.com
Cc: Freedman, Alan <afreedman@cgsh.com>; Brannon, Leah <lbrannon@cgsh.com>;
wendelynne.newton@bipc.com; mackenzie.baird@bipc.com; carrie.amezcua@bipc.com;
william.vankirk@bipc.com; ldanzig <ldanzig@cgsh.com>; Coraor, Everett <ecoraor@cgsh.com>;
samantha.southall@bipc.com; peter.russ@bipc.com; matthew.pilsner@bipc.com; Pascale, Sonia
Helen <spascale@cgsh.com>; Mukhi, Rahul <rmukhi@cgsh.com>; cfitzpatrick@cgsh.com; Kay,
Joseph <jkay@cgsh.com>; Jang, Eun Sun <ejang@cgsh.com>; reisler@gelaw.com;
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rjacobs@motleyrice.com; jmcgrath@gelaw.com; MGeyer@RobinsKaplan.com;
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josie@danjohnsonlawgroup.com; trish@danjohnsonlawgroup.com;
andrew@danjohnsonlawgroup.com; Isquith@whafh.com; Burt@whafh.com; bsimon@pswlaw.com;
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valarie.williams@alston.com; parker.miller@alston.com; alex.brown@alston.com;
doug.cunningham@alston.com; amanda.waide@alston.com; laura.komarek@alston.com;
robert.poole@alston.com; emily.welch@alston.com; Badini, Aldo <ABadini@winston.com>; Torpey,
Susannah <STorpey@winston.com>; Leiden, Diana <DHLeiden@winston.com>; Lanski, Kelli
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<Jkoch@winston.com>; Kahng, Jeenie <Jkahng@winston.com>; Russo, Stephen
  Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 5 of 16


<SRusso@winston.com>; Rosario, Rick <RRosario@winston.com>; Fargas, Socorro
<SFargas@winston.com>
Subject: RE: In re Keurig - Expert Disclosures

Counsel,

Attached, please find TreeHouse’s expert disclosures.

Best,
Mulan

Mulan Cui
Associate Attorney
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D: +1 212-294-6743
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From: DalSanto, Matthew <MDalSanto@winston.com>
Sent: Tuesday, June 30, 2020 9:13 PM
To: lmalm@cgsh.com
Cc: Freedman, Alan <afreedman@cgsh.com>; Cui, Mulan <MCui@winston.com>; Brannon, Leah
<lbrannon@cgsh.com>; wendelynne.newton@bipc.com; mackenzie.baird@bipc.com;
carrie.amezcua@bipc.com; william.vankirk@bipc.com; ldanzig <ldanzig@cgsh.com>; Coraor, Everett
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matthew.pilsner@bipc.com; Pascale, Sonia Helen <spascale@cgsh.com>; Mukhi, Rahul
<rmukhi@cgsh.com>; cfitzpatrick@cgsh.com; Kay, Joseph <jkay@cgsh.com>; Jang, Eun Sun
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DRochelson@RobinsKaplan.com; rjacobs@motleyrice.com; jmcgrath@gelaw.com;
MGeyer@RobinsKaplan.com; dan@danjohnsonlawgroup.com; robert@danjohnsonlawgroup.com;
mario@danjohnsonlawgroup.com; bill@danjohnsonlawgroup.com;
josie@danjohnsonlawgroup.com; trish@danjohnsonlawgroup.com;
andrew@danjohnsonlawgroup.com; Isquith@whafh.com; Burt@whafh.com; bsimon@pswlaw.com;
asimon@pswlaw.com; rkaplan@kaplanfox.com; hnam@kaplanfox.com; Dwarshaw@pswlaw.com;
mapearson@pswlaw.com; Donovan@whafh.com; Tepper@whafh.com;
valarie.williams@alston.com; parker.miller@alston.com; alex.brown@alston.com;
doug.cunningham@alston.com; amanda.waide@alston.com; laura.komarek@alston.com;
robert.poole@alston.com; emily.welch@alston.com; Badini, Aldo <ABadini@winston.com>; Torpey,
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<JHudgens@winston.com>; Waters, Brett <BWaters@winston.com>; Koch, Jared
 Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 6 of 16


<Jkoch@winston.com>; Kahng, Jeenie <Jkahng@winston.com>; Russo, Stephen
<SRusso@winston.com>; Rosario, Rick <RRosario@winston.com>; Fargas, Socorro
<SFargas@winston.com>
Subject: Re: In re Keurig - Expert Disclosures

Sounds good. Thanks, Larry.

Matthew R. DalSanto, Ph.D.
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Chicago, IL 60601-9703
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Admitted to practice in
California and Illinois



      On Jun 30, 2020, at 8:12 PM, Malm, Larry <lmalm@cgsh.com> wrote:


      Matt , All,
      Agreed.

      If there are further questions after 7/2, we can resolve via individual meet and confers
      as necessary.

      Best,
      Larry
      —
      Larry Malm
      Cleary Gottlieb Steen & Hamilton LLP
      Assistant: cobrien@cgsh.com
      2112 Pennsylvania Avenue, NW
      Washington, DC 20037
      T: +1 202 974 1959 | M: +1 203 464 8024
      lmalm@cgsh.com | clearygottlieb.com


      From: DalSanto, Matthew <MDalSanto@winston.com>
      Sent: Tuesday, June 30, 2020 3:13 PM
      To: Freedman, Alan <afreedman@cgsh.com>; Cui, Mulan <MCui@winston.com>;
      Brannon, Leah <lbrannon@cgsh.com>; wendelynne.newton@bipc.com;
      mackenzie.baird@bipc.com; carrie.amezcua@bipc.com; william.vankirk@bipc.com;
Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 7 of 16


   Malm, Larry <lmalm@cgsh.com>; Danzig, Lisa <ldanzig@cgsh.com>; Coraor, Everett
   <ecoraor@cgsh.com>; samantha.southall@bipc.com; peter.russ@bipc.com;
   matthew.pilsner@bipc.com; Pascale, Sonia Helen <spascale@cgsh.com>; Mukhi, Rahul
   <rmukhi@cgsh.com>; Fitzpatrick, Christopher <cfitzpatrick@cgsh.com>; Kay, Joseph
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   Cc: 'reisler@gelaw.com' <reisler@gelaw.com>; 'mbuchman@motleyrice.com'
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   <robert@danjohnsonlawgroup.com>; 'mario@danjohnsonlawgroup.com'
   <mario@danjohnsonlawgroup.com>; 'bill@danjohnsonlawgroup.com'
   <bill@danjohnsonlawgroup.com>; 'josie@danjohnsonlawgroup.com'
   <josie@danjohnsonlawgroup.com>; 'trish@danjohnsonlawgroup.com'
   <trish@danjohnsonlawgroup.com>; 'andrew@danjohnsonlawgroup.com'
   <andrew@danjohnsonlawgroup.com>; 'Isquith@whafh.com' <Isquith@whafh.com>;
   'Burt@whafh.com' <Burt@whafh.com>; 'bsimon@pswlaw.com'
   <bsimon@pswlaw.com>; 'asimon@pswlaw.com' <asimon@pswlaw.com>;
   'rkaplan@kaplanfox.com' <rkaplan@kaplanfox.com>; 'hnam@kaplanfox.com'
   <hnam@kaplanfox.com>; 'Dwarshaw@pswlaw.com' <Dwarshaw@pswlaw.com>;
   'mapearson@pswlaw.com' <mapearson@pswlaw.com>; 'Donovan@whafh.com'
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   Matthew <MDalSanto@winston.com>
   Subject: RE: In re Keurig - Expert Disclosures

   Larry,
Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 8 of 16



   After our phone conversation earlier today, I conferred with other plaintiffs’ counsel.
   We propose the following disclosure process, which I believe we all agree would be
   more efficient.

   Please let us know if Keurig agrees with this revised procedure.

   Best regards,
   Matt

       1) By 5 pm EDT on 7/1/2020, each party in each case will disclose the names,
          employers, and business addresses of their retained affirmative expert
          witness(es) and the case(s) in which they will provide expert testimony.
       2) By 5 pm EDT on 7/2/2020, each party in each case will provide brief
          description(s) of the subject matter of any experts that they retained that will
          opine on issues other than liability, economic or antitrust injury, damages,
          statistics, surveys, and/or the methods proffered to establish antitrust and/or
          economic injury and any corresponding damages on a classwide basis (i.e., a
          “class expert”).

   Matthew R. DalSanto, Ph.D.
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   Chicago, IL 60601-9703
   D: +1 (312) 558-6211
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   Admitted to practice in
   California and Illinois
   <image001.jpg>

   From: DalSanto, Matthew <MDalSanto@winston.com>
   Sent: Tuesday, June 30, 2020 9:44 AM
   To: Freedman, Alan <afreedman@cgsh.com>; Cui, Mulan <MCui@winston.com>;
   Brannon, Leah <lbrannon@cgsh.com>; wendelynne.newton@bipc.com;
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   <mbuchman@motleyrice.com>; 'mclerkin@motleyrice.com'
   <mclerkin@motleyrice.com>; 'jonileere@motleyrice.com'
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Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 9 of 16


   'rjacobs@motleyrice.com' <rjacobs@motleyrice.com>; 'jmcgrath@gelaw.com'
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   'Burt@whafh.com' <Burt@whafh.com>; 'bsimon@pswlaw.com'
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   'rkaplan@kaplanfox.com' <rkaplan@kaplanfox.com>; 'hnam@kaplanfox.com'
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   'mapearson@pswlaw.com' <mapearson@pswlaw.com>; 'Donovan@whafh.com'
   <Donovan@whafh.com>; 'Tepper@whafh.com' <Tepper@whafh.com>;
   'valarie.williams@alston.com' <valarie.williams@alston.com>;
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   <amanda.waide@alston.com>; 'laura.komarek@alston.com'
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   Evan <EMiller@winston.com>; Duxstad, Lauren <LDuxstad@winston.com>; Fitzgerald,
   Megan <MFitzgerald@winston.com>; Hudgens, Johanna <JHudgens@winston.com>;
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   Matthew <MDalSanto@winston.com>
   Subject: RE: In re Keurig - Expert Disclosures

   Larry and Alan,

   Thank you for taking the time to speak with us yesterday.

   Plaintiffs conferred and agree to the approach that we discussed. The list below
   memorializes our agreement and also contains a few additional details that we believe
   are necessary to actually implement the process we discussed. For example, we tried to
   clarify what is meant by “well-known experts.” We would also like to move the
   deadline for responses to any requests for additional information to 7/6/2020 due to the
   Independence Day Holiday that will be observed on 7/3/2020.

   Please let me know if Keurig agrees to these terms.

       1) By 5 pm EDT on 7/1/2020, each party in each case will disclose the names,
Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 10 of 16


            employers, and business addresses of their retained affirmative expert
            witness(es) and the case(s) in which they will provide expert testimony.
       2)   By 5 pm EDT on 7/2/2020, each party in each case may submit requests, if
            any, for additional information about any expert disclosed by another party in
            the matter.
       3)   By 5 pm EDT on 7/6/2020, each party in each case will respond to any
            request(s) that it received for additional information.
       4)   The responses to any requests for additional information will consist of brief
            description(s) of the subject matter of the expert’s opinions.
       5)   An expert who will opine on liability, economic or antitrust injury, damages,
            statistics, surveys, and/or the methods proffered to establish antitrust and/or
            economic injury and any corresponding damages on a classwide basis (i.e., a
            “class expert”) need only to disclose that the expert will opine on “liability,
            antitrust or economic injury, damages, statistics, surveys, and/or class issues.”

   Best regards,
   Matt

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Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 11 of 16


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   Ok thanks.


   —
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   Subject: RE: In re Keurig - Expert Disclosures
Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 13 of 16



   Thanks, Alan.

   Let’s plan to speak at 12:30 pm today if this time still works on your end. Here is a dial-
   in we can use:

           Dial-in: 513-360-6824
           Passcode: 1-212-294-6743

    Mulan Cui
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   Subject: RE: In re Keurig - Expert Disclosures

   Mulan,

   We are available from 10am-1pm on Monday to discuss this.

   Alan


   —
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   <RRosario@winston.com>; Fargas, Socorro <SFargas@winston.com>
   Subject: In re Keurig - Expert Disclosures

   Counsel,

   Under the scheduling order, the parties are to “disclose the identity of any expert
   witnesses under Fed. R. Civ. P. 26(a)(2)” by Wednesday, July 1. To ensure the parties
   have the same understanding as to what is required in the disclosures, we would like to
   set up a meet-and-confer to discuss.
Case 1:14-md-02542-VSB-SLC Document 1222-1 Filed 01/15/21 Page 16 of 16


   Please let us know your availability for a meet-and-confer tomorrow and Monday.

   Thank you,
   Mulan

    Mulan Cui
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